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13                           UNITED STATES DISTRICT COURT

14                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

15   UNITED STATES OF AMERICA,                No. CR 18-335-AB-09

16              Plaintiff,                    PLEA AGREEMENT FOR DEFENDANT 9
                                              MICHAEL ANTHONY TREVINO
17                    v.

18   MICHAEL ANTHONY TREVINO,

19              Defendant.

20

21         1.    This constitutes the plea agreement between defendant
22   MICHAEL ANTHONY TREVINO (“defendant”) and the United States
23   Attorney’s Office for the Central District of California (the “USAO”)
24   in the above-captioned case.       This agreement is limited to the USAO
25   and cannot bind any other federal, state, local, or foreign
26   prosecuting, enforcement, administrative, or regulatory authority.
27                              DEFENDANT’S OBLIGATIONS
28         2.    Defendant agrees to:
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 1               a.   At the earliest opportunity requested by the USAO and

 2   provided by the Court, appear and plead guilty to count one of the

 3   superseding indictment in United States v. Jose Leonel Payan Castillo

 4   et al., CR No. 18-335-AB, which charges defendant with Conspiracy to
 5   Distribute and to Possess with Intent to Distribute Controlled
 6   Substances, in violation of 21 U.S.C. § 846.
 7               b.   Not contest facts agreed to in this agreement.
 8               c.   Abide by all agreements regarding sentencing contained
 9   in this agreement.
10               d.   Appear for all court appearances, surrender as ordered
11   for service of sentence, obey all conditions of any bond, and obey
12   any other ongoing court order in this matter.
13               e.   Agree that all court appearances, including his
14   change-of-plea hearing and sentencing hearing, may proceed by video-
15   teleconference (“VTC”) or telephone, if VTC is not reasonably
16   available, so long as such appearances are authorized by Order of the
17   Chief Judge 20-043 or another order, rule, or statute.            Defendant
18   understands that, under the United States Constitution, the United
19   States Code, and the Federal Rules of Criminal Procedure (including
20   Rules 11, 32, and 43), he may have the right to be physically present
21   at these hearings.     Defendant understands that right and, after
22   consulting with counsel, voluntarily agrees to waive it and to
23   proceed remotely.     Defense counsel also joins in this consent,
24   agreement, and waiver.      Specifically, this agreement includes, but is
25   not limited to, the following:
26                    i.    Defendant consents under Federal Rules of
27   Criminal Procedure 5(f) and 10(c) and Section 15002(b) of the CARES
28

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 1   Act to proceed with his initial appearance and arraignment by VTC or

 2   telephone, if VTC is not reasonably available.

 3                    ii.   Defendant consents under Section 15002(b) of the

 4   CARES Act to proceed with his waiver of indictment, under Federal

 5   Rule of Criminal Procedure 7(b), by VTC or telephone, if VTC is not

 6   reasonably available.

 7                    iii. Defendant consents under Section 15002(b) of the

 8   CARES Act to proceed with his change-of-plea hearing by VTC or

 9   telephone, if VTC is not reasonably available.

10                    iv.   Defendant consents under Section 15002(b) of the

11   CARES Act to proceed with his sentencing hearing by VTC or telephone,

12   if VTC is not reasonably available.

13                    v.    Defendant consents under 18 U.S.C. § 3148 and

14   Section 15002(b) of the CARES Act to proceed with any hearing

15   regarding alleged violations of the conditions of pretrial release by

16   VTC or telephone, if VTC is not reasonably available.

17               f.   Not commit any crime or any act constituting

18   obstruction of justice; however, offenses that would be excluded for

19   sentencing purposes under United States Sentencing Guidelines

20   (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not within the

21   scope of this agreement.

22               g.   Be truthful at all times with the United States

23   Probation and Pretrial Services Office and the Court.

24               h.   Pay the applicable special assessment at or before the

25   time of sentencing unless defendant has demonstrated a lack of

26   ability to pay such assessments.

27                               THE USAO’S OBLIGATIONS

28         3.    The USAO agrees to:

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 1               a.   Not contest facts agreed to in this agreement.

 2               b.   Abide by all agreements regarding sentencing contained

 3   in this agreement.

 4               c.   At the time of sentencing, move to dismiss the

 5   remaining count of the indictment as against defendant.            Defendant

 6   agrees, however, that at the time of sentencing the Court may

 7   consider any dismissed charge in determining the applicable

 8   Sentencing Guidelines range, the propriety and extent of any

 9   departure from that range, and the sentence to be imposed.

10               d.   At the time of sentencing, provided that defendant

11   demonstrates an acceptance of responsibility for the offense up to

12   and including the time of sentencing, recommend a two-level reduction

13   in the applicable Sentencing Guidelines offense level, pursuant to

14   U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an

15   additional one-level reduction if available under that section.

16               e.   Because the justice system is facing an unprecedented

17   crisis through the backlog of cases, the parties agree that the

18   defendant is entitled to a two-level variance as recognition of

19   defendant’s early acceptance of responsibility, which will lessen the

20   burden on the court system by: (1) waiving any right to presence and

21   pleading guilty at the earliest opportunity by VTC (or telephone, if

22   VTC is not reasonably available); (2) waiving any right to presence

23   and agreeing to be sentenced by VTC (or telephone, if VTC is not

24   reasonably available) should the Central District of California’s

25   General Order allow for it; (3) agreeing to appear at all other times

26   by VTC or telephone; and (4) waiving all appellate rights.

27               f.   Recommend that defendant be sentenced to a term of

28   imprisonment no higher than the low end of the applicable Sentencing

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 1   Guidelines range, provided that the offense level used by the Court

 2   to determine that range is 20 or higher, and provided that the Court

 3   does not depart downward in offense level or criminal history

 4   category.    For purposes of this agreement, the low end of the

 5   Sentencing Guidelines range is that defined by the Sentencing Table

 6   in U.S.S.G. Chapter 5, Part A.

 7               g.   Should the Court sentence defendant to a term of

 8   imprisonment, recommend that defendant not be required to self-

 9   surrender to serve his sentence until on or after February 1, 2021,

10   unless defendant violates the conditions of his bond.

11                               NATURE OF THE OFFENSE

12         4.    Defendant understands that for defendant to be guilty of
13   the crime charged in count one, that is, Conspiracy to Distribute and
14   to Possess with Intent to Distribute Controlled Substances, in
15   violation of 21 U.S.C. § 846, the following must be true:
16         (1) Beginning on an unknown date and continuing to on or about
17         May 31, 2018, there was an agreement between two or more persons
18         to distribute and to possess with intent to distribute a
19         controlled substance; and
20         (2) Defendant joined in the agreement knowing of its purpose and
21         intending to help accomplish that purpose.
22         5.    Defendant understands that for defendant to be subject to
23   the statutory maximum and statutory minimum sentences set forth
24   below, the government must prove beyond a reasonable doubt that
25   defendant conspired to distribute and to possess with intent to
26   distribute at least five kilograms of a mixture or substance
27   containing a detectable amount of cocaine.          Defendant admits that
28   defendant, in fact, conspired to distribute and to possess with

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 1   intent to distribute at least five kilograms of cocaine, a Schedule

 2   II narcotic drug controlled substance, as described in count one of

 3   the indictment.

 4                                      PENALTIES

 5         6.    Defendant understands that the statutory maximum sentence
 6   that the Court can impose for a violation of 21 U.S.C. § 846, as
 7   charged in count one pursuant to indictment pursuant to 21 U.S.C.
 8   § 841(a)(1), (b)(1)(A)(ii), is: life imprisonment; a lifetime period
 9   of supervised release; a fine of $10,000,000 or twice the gross gain
10   or gross loss resulting from the offense, whichever is greatest; and
11   a mandatory special assessment of $100.
12         7.    Defendant understands that, absent a determination by the
13   Court that defendant’s case satisfies the criteria set forth in 18
14   U.S.C. § 3553(f) and U.S.S.G. § 5C1.2, the statutory mandatory
15   minimum sentence that the Court must impose for a violation of 21
16   U.S.C. § 846, as charged in count one pursuant to § 841(a)(1),
17   (b)(1)(A)(ii), is: a term of 10 years imprisonment and a 5-year
18   period of supervised release.
19         8.    Defendant understands that under 21 U.S.C. § 862a,
20   defendant will not be eligible for assistance under state programs
21   funded under the Social Security Act or Federal Food Stamp Act or for
22   federal food stamp program benefits, and that any such benefits or
23   assistance received by defendant’s family members will be reduced to
24   reflect defendant’s ineligibility.
25         9.    Defendant understands that supervised release is a period
26   of time following imprisonment during which defendant will be subject
27   to various restrictions and requirements.         Defendant understands that
28   if defendant violates one or more of the conditions of any supervised

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 1   release imposed, defendant may be returned to prison for all or part

 2   of the term of supervised release authorized by statute for the

 3   offense that resulted in the term of supervised release.

 4         10.   Defendant understands that, by pleading guilty, defendant

 5   may be giving up valuable government benefits and valuable civic

 6   rights, such as the right to vote, the right to possess a firearm,

 7   the right to hold office, and the right to serve on a jury. Defendant

 8   understands that he is pleading guilty to a felony and that it is a

 9   federal crime for a convicted felon to possess a firearm or

10   ammunition.     Defendant understands that the conviction in this case

11   may also subject defendant to various other collateral consequences,

12   including but not limited to revocation of probation, parole, or

13   supervised release in another case and suspension or revocation of a

14   professional license.      Defendant understands that unanticipated

15   collateral consequences will not serve as grounds to withdraw

16   defendant’s guilty plea.

17         11.   Defendant and his counsel have discussed the fact that, and

18   defendant understands that, if defendant is not a United States

19   citizen, the conviction in this case makes it practically inevitable

20   and a virtual certainty that defendant will be removed or deported

21   from the United States.      Defendant may also be denied United States

22   citizenship and admission to the United States in the future.

23   Defendant understands that while there may be arguments that

24   defendant can raise in immigration proceedings to avoid or delay

25   removal, removal is presumptively mandatory and a virtual certainty

26   in this case.    Defendant further understands that removal and

27   immigration consequences are the subject of a separate proceeding and

28   that no one, including his attorney or the Court, can predict to an

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 1   absolute certainty the effect of his conviction on his immigration

 2   status.     Defendant nevertheless affirms that he wants to plead guilty

 3   regardless of any immigration consequences that his plea may entail,

 4   even if the consequence is automatic removal from the United States.

 5                                    FACTUAL BASIS

 6         12.    Defendant admits that defendant is, in fact, guilty of the
 7   offense to which defendant is agreeing to plead guilty.            Defendant
 8   and the USAO agree to the statement of facts provided below and agree
 9   that this statement of facts is sufficient to support a plea of
10   guilty to the charge described in this agreement and to establish the
11   Sentencing Guidelines factors set forth in paragraph 14 below but is
12   not meant to be a complete recitation of all facts relevant to the
13   underlying criminal conduct or all facts known to either party that
14   relate to that conduct.
15         Beginning on a date on or before September 7, 2016, and
16   continuing through on or about May 31, 2018, there was an agreement
17   between defendant and codefendants JOSE LEONEL PAYAN-CASTILLO and
18   RALPHEE, and others, to knowingly distribute cocaine, and to
19   knowingly possess with intent to distribute cocaine, within the
20   Central District of California and elsewhere.          Intending to help
21   accomplish the purpose of the conspiracy, defendant knowingly
22   conspired to distribute and to possess with intent to distribute at
23   least five kilograms of cocaine.          For example, on September 7, 2016,
24   in furtherance of the conspiracy and at the direction of a co-
25   conspirator, defendant agreed to transport, and then knowingly
26   transported, approximately 7.87 kilograms of cocaine intended for
27   further distribution.      That day, PAYAN-CASTILLO and RALPHEE, using
28   coded language, exchanged electronic messages indicating that

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 1   defendant would receive approximately eight kilograms of cocaine.

 2   Also that day, in Los Angeles County, defendant met an unindicted co-

 3   conspirator in a parking lot, and knowingly received an “Idaho

 4   Potatoes” box containing eight bricks of cocaine, each wrapped in

 5   black electrical tape.      Defendant placed the cocaine in his car,

 6   where law enforcement found it when they conducted a traffic stop

 7   shortly thereafter.     Electronic messages exchanged between PAYAN-

 8   CASTILLO and RALPHEE confirmed that defendant had been arrested and

 9   the cocaine had been seized.       At all relevant times, defendant knew

10   that he possessed distribution quantities of illegal drugs.

11                                 SENTENCING FACTORS

12         13.   Defendant understands that in determining defendant’s
13   sentence the Court is required to calculate the applicable Sentencing
14   Guidelines range and to consider that range, possible departures
15   under the Sentencing Guidelines, and the other sentencing factors set
16   forth in 18 U.S.C. § 3553(a).       Defendant understands that the
17   Sentencing Guidelines are advisory only, that defendant cannot have
18   any expectation of receiving a sentence within the calculated
19   Sentencing Guidelines range, and that after considering the
20   Sentencing Guidelines and the other § 3553(a) factors, the Court will
21   be free to exercise its discretion to impose any sentence it finds
22   appropriate between the mandatory minimum and up to the maximum set
23   by statute for the crime of conviction.
24         14.   Defendant and the USAO agree to the following applicable
25   Sentencing Guidelines factors:
26      Base Offense Level:                    30        U.S.S.G. § 2D1.1(c)(5)
27      Mitigating Role:                       -3               U.S.S.G. § 3B1.2
28

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 1   Defendant and the USAO reserve the right to argue that additional

 2   specific offense characteristics, adjustments, and departures under

 3   the Sentencing Guidelines are appropriate.          Defendant understands

 4   that defendant’s offense level could be increased if defendant is a

 5   career offender under U.S.S.G. §§ 4B1.1 and 4B1.2.           If defendant’s

 6   offense level is so altered, defendant and the USAO will not be bound

 7   by the agreement to Sentencing Guideline factors set forth above.

 8         15.   Defendant and the USAO agree that:

 9               a.    Defendant did not use violence or credible threats of

10   violence or possess a firearm or other dangerous weapon (or induce

11   another participant to do so) in connection with the offense charged

12   in count one;

13               b.    The offense charged in count one did not result in

14   death or serious bodily injury to any person; and

15               c.    Defendant was not an organizer, leader, manager, or

16   supervisor of others in the offense charged in count one and was not

17   engaged in a continuing criminal enterprise.

18         16.   Defendant understands that there is no agreement as to

19   defendant’s criminal history or criminal history category.

20         17.   Defendant and the USAO reserve the right to argue for a

21   sentence outside the sentencing range established by the Sentencing

22   Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),

23   (a)(2), (a)(3), (a)(6), and (a)(7).

24                          WAIVER OF CONSTITUTIONAL RIGHTS

25         18.   Defendant understands that by pleading guilty, defendant
26   gives up the following rights:
27               a.    The right to persist in a plea of not guilty.
28               b.    The right to a speedy and public trial by jury.

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 1               c.    The right to be represented by counsel –- and if

 2   necessary have the Court appoint counsel -- at trial.            Defendant

 3   understands, however, that, defendant retains the right to be

 4   represented by counsel –- and if necessary have the Court appoint

 5   counsel –- at every other stage of the proceeding.

 6               d.    The right to be presumed innocent and to have the

 7   burden of proof placed on the government to prove defendant guilty

 8   beyond a reasonable doubt.

 9               e.    The right to confront and cross-examine witnesses

10   against defendant.

11               f.    The right to testify and to present evidence in

12   opposition to the charges, including the right to compel the

13   attendance of witnesses to testify.

14               g.    The right not to be compelled to testify, and, if

15   defendant chose not to testify or present evidence, to have that

16   choice not be used against defendant.

17               h.    Any and all rights to pursue any affirmative defenses,

18   Fourth Amendment or Fifth Amendment claims, and other pretrial

19   motions that have been filed or could be filed.

20                           WAIVER OF APPEAL OF CONVICTION

21         19.   Defendant understands that, with the exception of an appeal
22   based on a claim that defendant’s guilty plea was involuntary, by
23   pleading guilty defendant is waiving and giving up any right to
24   appeal defendant’s conviction on the offense to which defendant is
25   pleading guilty.     Defendant understands that this waiver includes,
26   but is not limited to, arguments that the statute to which defendant
27   is pleading guilty is unconstitutional, and any and all claims that
28

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 1   the statement of facts provided herein is insufficient to support

 2   defendant’s plea of guilty.

 3                   LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

 4         20.   Defendant gives up the right to appeal all of the
 5   following: (a) the procedures and calculations used to determine and
 6   impose any portion of the sentence; (b) the term of imprisonment
 7   imposed by the Court, provided it is no more than the high-end of the
 8   Sentencing Guidelines range calculated by the Court; (c) the fine
 9   imposed by the Court, provided it is within the statutory maximum;
10   (d) to the extent permitted by law, the constitutionality or legality
11   of defendant’s sentence, provided it is within the statutory maximum;
12   (e) the term of probation or supervised release imposed by the Court,
13   provided it is within the statutory maximum; and (f) any of the
14   following conditions of probation or supervised release imposed by
15   the Court: the conditions set forth in General Order 20-04 of this
16   Court; the drug testing conditions mandated by 18 U.S.C.
17   §§ 3563(a)(5) and 3583(d); and the alcohol and drug use conditions
18   authorized by 18 U.S.C. § 3563(b)(7).
19         21.   Defendant also gives up any right to bring a post-
20   conviction collateral attack on the conviction or sentence, except a
21   post-conviction collateral attack based on a claim of ineffective
22   assistance of counsel or an explicitly retroactive change in the
23   applicable Sentencing Guidelines, sentencing statutes, or statutes of
24   conviction.     Defendant understands that this waiver includes, but is
25   not limited to, arguments that the statute to which defendant is
26   pleading guilty is unconstitutional, that newly discovered evidence
27   purportedly supports defendant’s innocence, and any and all claims
28

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 1   that the statement of facts provided herein is insufficient to

 2   support defendant’s plea of guilty.

 3         22.    The USAO agrees that, provided all portions of the sentence

 4   are at or above the statutory minimum and at or below the statutory

 5   maximum specified above, the USAO gives up its right to appeal any

 6   portion of the sentence.

 7                        RESULT OF WITHDRAWAL OF GUILTY PLEA

 8         23.    Defendant agrees that if, after entering a guilty plea
 9   pursuant to this agreement, defendant seeks to withdraw and succeeds
10   in withdrawing defendant’s guilty plea on any basis other than a
11   claim and finding that entry into this plea agreement was
12   involuntary, then (a) the USAO will be relieved of all of its
13   obligations under this agreement; and (b) should the USAO choose to
14   pursue any charge that was either dismissed or not filed as a result
15   of this agreement, then (i) any applicable statute of limitations
16   will be tolled between the date of defendant’s signing of this
17   agreement and the filing commencing any such action; and
18   (ii) defendant waives and gives up all defenses based on the statute
19   of limitations, any claim of pre-indictment delay, or any speedy
20   trial claim with respect to any such action, except to the extent
21   that such defenses existed as of the date of defendant’s signing this
22   agreement.
23                     RESULT OF VACATUR, REVERSAL OR SET-ASIDE
24         24.    Defendant agrees that if the count of conviction is
25   vacated, reversed, or set aside, both the USAO and defendant will be
26   released from all their obligations under this agreement.
27

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 1                            EFFECTIVE DATE OF AGREEMENT

 2           25.   This agreement is effective upon signature and execution of

 3   all required certifications by defendant, defendant’s counsel, and an

 4   Assistant United States Attorney.

 5                                 BREACH OF AGREEMENT

 6           26.   Defendant agrees that if defendant, at any time after the
 7   signature of this agreement and execution of all required
 8   certifications by defendant, defendant’s counsel, and an Assistant
 9   United States Attorney, knowingly violates or fails to perform any of
10   defendant’s obligations under this agreement (“a breach”), the USAO
11   may declare this agreement breached.         All of defendant’s obligations
12   are material, a single breach of this agreement is sufficient for the
13   USAO to declare a breach, and defendant shall not be deemed to have
14   cured a breach without the express agreement of the USAO in writing.
15   If the USAO declares this agreement breached, and the Court finds
16   such a breach to have occurred, then: (a) if defendant has previously
17   entered a guilty plea pursuant to this agreement, defendant will not
18   be able to withdraw the guilty plea, and (b) the USAO will be
19   relieved of all its obligations under this agreement.
20           27.   Following the Court’s finding of a knowing breach of this
21   agreement by defendant, should the USAO choose to pursue any charge
22   that was either dismissed or not filed as a result of this agreement,
23   then:
24                 a.   Defendant agrees that any applicable statute of
25   limitations is tolled between the date of defendant’s signing of this
26   agreement and the filing commencing any such action.
27                 b.   Defendant waives and gives up all defenses based on
28   the statute of limitations, any claim of pre-indictment delay, or any

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 1   speedy trial claim with respect to any such action, except to the

 2   extent that such defenses existed as of the date of defendant’s

 3   signing this agreement.

 4               c.    Defendant agrees that: (i) any statements made by

 5   defendant, under oath, at the guilty plea hearing (if such a hearing

 6   occurred prior to the breach); (ii) the agreed to factual basis

 7   statement in this agreement; and (iii) any evidence derived from such

 8   statements, shall be admissible against defendant in any such action

 9   against defendant, and defendant waives and gives up any claim under

10   the United States Constitution, any statute, Rule 410 of the Federal

11   Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal

12   Procedure, or any other federal rule, that the statements or any

13   evidence derived from the statements should be suppressed or are

14   inadmissible.

15            COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

16                                  OFFICE NOT PARTIES
17         28.   Defendant understands that the Court and the United States
18   Probation and Pretrial Services Office are not parties to this
19   agreement and need not accept any of the USAO’s sentencing
20   recommendations or the parties’ agreements to facts or sentencing
21   factors.
22         29.   Defendant understands that both defendant and the USAO are
23   free to: (a) supplement the facts by supplying relevant information
24   to the United States Probation and Pretrial Services Office and the
25   Court, (b) correct any and all factual misstatements relating to the
26   Court’s Sentencing Guidelines calculations and determination of
27   sentence, and (c) argue on appeal and collateral review that the
28   Court’s Sentencing Guidelines calculations and the sentence it

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 1   chooses to impose are not error, although each party agrees to

 2   maintain its view that the calculations in paragraph 14 are

 3   consistent with the facts of this case.         While this paragraph permits

 4   both the USAO and defendant to submit full and complete factual

 5   information to the United States Probation and Pretrial Services

 6   Office and the Court, even if that factual information may be viewed

 7   as inconsistent with the facts agreed to in this agreement, this

 8   paragraph does not affect defendant’s and the USAO’s obligations not

 9   to contest the facts agreed to in this agreement.

10         30.   Defendant understands that even if the Court ignores any

11   sentencing recommendation, finds facts or reaches conclusions

12   different from those agreed to, and/or imposes any sentence up to the

13   maximum established by statute, defendant cannot, for that reason,

14   withdraw defendant’s guilty plea, and defendant will remain bound to

15   fulfill all defendant’s obligations under this agreement.             Defendant

16   understands that no one –- not the prosecutor, defendant’s attorney,

17   or the Court –- can make a binding prediction or promise regarding

18   the sentence defendant will receive, except that it will be between

19   the statutory mandatory minimum and the statutory maximum.

20                              NO ADDITIONAL AGREEMENTS

21         31.   Defendant understands that, except as set forth herein,
22   there are no promises, understandings, or agreements between the USAO
23   and defendant or defendant’s attorney, and that no additional
24   promise, understanding, or agreement may be entered into unless in a
25   writing signed by all parties or on the record in court.
26   ///
27   ///
28   ///

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